            Case 1:19-cr-01991-KWR Document 58 Filed 01/17/20 Page 1 of 1



                             IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

                Plaintiff,

       v.                                                         No. 19-CR-1991 KWR

ANTONIO CARRILLO,

                Defendant.

                              NOTICE OF ENTRY OF APPEARANCE

       The United States hereby notifies the Court that JAYMIE L. ROYBAL enters her

appearance as co-counsel of record in this case. The United States requests that JAYMIE L.

ROYBAL receive copies of all notices, pleadings, and correspondence in this case.

                                                    Respectfully submitted,

                                                    JOHN C. ANDERSON
                                                    United States Attorney


                                                    /s/ Jaymie L. Roybal
                                                    JAYMIE L. ROYBAL
                                                    Assistant United States Attorney
                                                    P.O. Box 607
                                                    Albuquerque, N.M. 87103
                                                    (505) 224-1413


I HEREBY CERTIFY that I filed the foregoing
pleading electronically through the CM/ECF system
which caused defense counsel, Marshall J. Ray, to be
served by electronic means, as reflected on the Notice
of Electronic Filing as indicated therein on
January 17, 2020.

/s/
Jaymie L. Roybal
Assistant United States Attorney
